Case 1:18-cv-03713-TWP-MJD Document 61 Filed 01/08/19 Page 1 of 1 PageID #: 2555



                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 JOHN DOE,                            )
                                      )
                Plaintiff,            )
                                      )
                v.                    )              Case No. 1:18-cv-3713-TWP-MJD
                                      )
 INDIANA UNIVERSITY,                  )
                                      )
                Defendant.            )

                         ORDER ON DEFENDANT’S MOTION TO STRIKE

         This matter came before the Court on Defendants’ Motion to Strike plaintiff John Doe’s

 designation of evidence in support of his motion for preliminary injunction. The Court being

 duly advised, now GRANTS in part and DENIED in part said Motion.

        The portion of plaintiff’s designation [Doc. 47] titled “Particular Designations” which

  summarizes the fact designations will be considered by the Court. Plaintiff's arguments regarding

 the meaning of the designations is stricken from the record and will not be considered by the Court.


 Dated: 1/8/2019



                                                        ________________________
                                                        Hon. Tanya Walton Pratt, Judge
                                                        United States District Court
                                                        Southern District of Indiana




  Distribution to:
  All ECF-registered counsel of record via email generated by the Court’s ECF System




 24107158.1
